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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 NATALIE REESER,
                                         Case No. 2:14-cv-11916-GCS-MJH
            Plaintiff,                   Hon. George Caram Steeh
 v                                       Magistrate Judge Mona K. Majzoub

 HENRY FORD HEALTH SYSTEM
 d/b/a HENRY FORD HOSPITAL,

            Defendant.

 MILLER COHEN, P.L.C.                    VARNUM LLP
 Richard G. Mack, Jr. (P58657)           Terrance J. Miglio (P30541)
 Keith D. Flynn (P74192)                 Barbara E. Buchanan (P55084)
 Adam C. Graham (P79361)                 Attorneys for Defendant
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 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
 BAR PLAINTIFF FROM INTRODUCING ANY EVIDENCE REGARDING
   HER ALLEGED MEDICAL OR PSYCHOLOGICAL CONDITIONS

                         ORAL ARGUMENT REQUESTED
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                   STATEMENT OF ISSUES PRESENTED

   1. Whether Defendant’s Motion in Limine to Bar Plaintiff from Introducing Any
      Evidence Regarding Her Alleged Medical or Psychological Conditions should
      be denied, where Plaintiff’s testimony regarding her emotional damages is
      rationally based on her perception and there is clear precedent to allow
      Plaintiffs to testify about medical treatment they have received and feelings
      that have experienced as a result of wrongful termination?

      Plaintiff answers “yes”




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 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
 BAR PLAINTIFF FROM INTRODUCING ANY EVIDENCE REGARDING
   HER ALLEGED MEDICAL OR PSYCHOLOGICAL CONDITIONS

       NOW COMES Plaintiff, NATALIE REESER, by and through her attorneys,

 MILLER COHEN, P.L.C., and with her Response to Defendant’s Motion in Limine,

 states as follows:

                                I. INTRODUCTION

       Defendant seeks to exclude more than testimony regarding a medical

 diagnosis; Defendant, instead, seeks an order preventing Plaintiff from discussing

 the nature, severity, treatment, duration and/or cause of the anxiety and depression

 that Plaintiff has suffered due to her retaliatory termination. Simply put, this

 evidence goes far past expert testimony into the realm of Plaintiff’s layperson

 testimony. Effectively, Defendant is attempting to silence Plaintiff from ever

 speaking about the emotional harm she suffered as a result of Defendant’s actions

 from her own perception and experiences. In the process, Defendant attempts to

 rewrite clearly established law by suggesting that Plaintiff is unable to request

 damages for emotional harm without offering an expert witness to establish this

 harm. Such a rule does not exist and, if it did, it would fly in the face of decades of

 established case law.

       Plaintiff does not hold herself out to be a medical doctor, but she has a clear

 right to offer her testimony to establish the emotional harm she suffered, including



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 medication she took following her termination and medical or psychological

 treatment she sought. It is obvious that such facts are relevant to claims of Plaintiff’s

 emotional harm and to suggest otherwise is a frivolous argument.

       Further, Defendant has subpoenaed records from Plaintiff’s therapist and has

 scheduled an upcoming deposition with her for April 15, 2016. A court has the power

 to exclude evidence in limine “only when evidence is clearly inadmissible on all

 potential grounds.” Bouchard v. Am. Home Prods. Corp., 213 F.Supp.2d 802, 810

 (N.D. Ohio 2002) (citing Luce v. United States, 469 U.S. 38, 41 n. 4 (1984)). Unless

 the evidence meets this high standard, “rulings should be deferred until trial so that

 questions of foundation, relevancy and potential prejudice may be resolved in proper

 context.” Indiana Ins. Co. v. Gen. Elec. Co., 326 F.Supp.2d 844, 846 (N.D. Ohio

 2004). The parties do not yet know what evidence this deposition will produce and,

 therefore, a ruling on the ability of either party to admit such evidence should be

 deferred until trial so that questions related to the evidence may be resolved in proper

 context.

                            II. STATEMENT OF FACTS

            Plaintiff, Natalie Reeser, was employed as a Laboratory Assistant at

    Defendant Henry Ford Health System (“Henry Ford”). (Attached as Exhibit A).

    Defendant had an unpaid mandatory 30 minute lunch policy while Plaintiff was

    employed at Henry Ford. (Attached as Exhibit B). Despite this policy, Plaintiff’s



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   repeated requests to take a 30 minute lunch were denied and she was repeatedly

   denied compensation for being forced to work through lunch. (Reeser Dep. 92,

   94, 115) From 2012 to 2014, Plaintiff was not paid for 376 lunches to which she

   was entitled. (Attached as Exhibit C).

         In early January 2014, after learning from a doctor in the facility that this

   practice was illegal, Ms. Reeser contacted the State. (Reeser Dep. 110, 202-03,

   291) On January 14, 2014, Plaintiff contacted Human Resources (HR) Senior

   Business Partner Jill Hood to request a meeting concerning this issue, among

   others. (Attached as Exhibit D). On January 20, 2014, Plaintiff informed Hood

   that she had not been allowed to take 30 minute lunch breaks away from her office

   for years. (Attached as Exhibit E). Plaintiff indicated she “recently learned . . . The

   Fair Labor Standards Act (FLSA) states that hourly employees, who are required

   to work more than 40 hours in a work week, are to be compensated for those hours

   under a term called, ‘engaged to work.’” Id. Plaintiff requested “[HR] . . .

   intercede, and allow employees . . . a scheduled/advertised 30-minute closure of

   the lab each day for a meal break.” Id. Plaintiff explained that her supervisor Fiona

   Bork said she would be “terminated” if she reported this issue. (Hood Dep. 134).

         On February 25, 2014, at 1:12 PM, Plaintiff emailed a note to Bork and

   others stating she was taking a lunch. (Attached as Exhibit F) Plaintiff then picked

   up her coat and purse and prepared to leave for lunch. (Reeser Dep. 265) Plaintiff



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   posted a sign on the front door of the office indicating she would return in 30

   minutes and left the office. Id. After Plaintiff returned, she was suspended

   pending an investigation and escorted off the premises by security without being

   allowed to take with her all of her personal belongings. (Attached as Exhibit G).

   Plaintiff was informed that she was being terminated on March 7. (Attached as

   Exhibit H).

         As a result of these illegal actions, Plaintiff sought treatment with her

   primary care doctor, Dr. Reza Kahnamoui, after her suspension, because “my

   anxiety came back, my panic attacks came back, I needed medicine.” (Reeser

   Dep. 76-77) Plaintiff also testified that “the medicine wasn’t working, [the

   suspension and termination] made me very depressed, it made me very anxious,

   very scared, I didn’t know what was going on, I didn’t know why it was

   happening to me, and I needed help.” Id. at 77. With regard to her medication,

   Plaintiff has testified that her primary care physician “upped my medicine”

   following her termination and that “he had to up them – up it because the

   depression was huge and the anxiety got worse. Like I was having panic attacks

   on a daily basis to the point where I almost went agoraphobic and couldn’t leave

   the house”. Id. at 77-78. Plaintiff explained that she has taken “Paxil every day

   since 2001”, but “now I take 50 milligrams of Paxil instead of 20 milligrams of




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    Paxil, and I also take Xanax to calm my nerves for the anxiety and panic attacks

    this lawsuit has cause me.” Id.

          Plaintiff has sought treatment with Dr. Marilyn Louis, a general

    practitioner who has prescribed Plaintiff medication for anxiety and major

    depression. (Attached as Exhibit I) Plaintiff has also attended sessions with Ms.

    Kriss Goodroe, a Ministry Director and Licensed Professional Counselor, who

    has provided treatment for anxiety and major depression. Id.

                                 III. ARGUMENT

          Federal district courts have the power to exclude evidence in limine

    pursuant to their inherent authority to manage trials. See Luce v. United States,

    469 U.S. 38, 41 n. 4 (1984) (citing Fed. R. Evid. 103(c)). However, the Court has

    the power to exclude evidence in limine “only when evidence is clearly

    inadmissible on all potential grounds.” Bouchard v. Am. Home Prods. Corp., 213

    F.Supp.2d 802, 810 (N.D. Ohio 2002) (citing Luce at 41 n. 4). Unless the

    evidence meets this high standard, “rulings should be deferred until trial so that

    questions of foundation, relevancy and potential prejudice may be resolved in

    proper context.” Indiana Ins. Co. v. Gen. Elec. Co., 326 F.Supp.2d 844, 846 (N.D.

    Ohio 2004).




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          Evidence is relevant if: (a) it has any tendency to make a fact more or less

    probable than it would be without the evidence; and (b) the fact is of consequence

    in determining the action. Fed. R. Evid. 401.

          If a witness is not testifying as an expert, testimony in the form of an

    opinion is limited to one that is: (a) rationally based on the witness’s perception;

    (b) helpful to clearly understanding the witness’s testimony or to determining a

    fact in issue; and (c) not based on scientific, technical, or other specialized

    knowledge within the scope of Rule 702. See Fed. R. Evid. 701.

          This includes testimony related to a witness’ “experience, feelings,

    emotions and symptoms” surrounding the impact of discriminatory and

    retaliatory conduct by an employer. See Standen v. Gertrude Hawk Chocolates,

    Inc., No. 3:11CV1988, 2014 WL 1095129, at *3 (M.D. Pa. Mar. 19, 2014)

    (Attached as Exhibit J). A Plaintiff’s “own experience and feelings are certainly

    rationally based on her perception” of harassment and “would illustrate the

    effects of the . . . harassment to the jury.” Id. (discussing a Plaintiff’s testimony

    in a sexual harassment suit). A Plaintiff “is not required to present expert

    medical testimony to establish emotional distress damages.” Id. at *4

    (emphasis added).

          Defendant’s reliance on United States v. Ganier, 468 F.3d 920, 924 (6th

    Cir. 2006) is, frankly, somewhat odd. The Sixth Circuit held in Ganier that an



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     individual who might have specialized knowledge as a result of their job, could

     not apply this specialized knowledge while testifying as a lay witness.1 Ganier at

     926. This holding has no bearing on Plaintiff’s ability to offer testimony related

     to her experience, feelings, emotions and symptoms surrounding the impact of

     her termination. Plaintiff has never claimed that she has specialized knowledge

     that she seeks to offer as a lay witness.

           Despite Defendant’s groundless protestations, courts have long held that

     emotional damages may be awarded based solely on a Plaintiff’s testimony. See

     Green v. City of New York, No. 01 CIV. 1996 RMB, 2011 WL 690498, at *2

     (S.D.N.Y. Feb. 22, 2011) (citing, among other cases, Reiter v. Metropolitan

     Transportation Authority of New York, No. 01 Civ. 2762, 2003 WL 22271223, at

     *9 (S.D.N.Y. Sept. 30, 2003) (awarded emotional damages where ‘plaintiff,

     while testifying to feelings of distress ..., did not detail the severity, duration, or

     consequences of his mental suffering’ and did not present ‘any evidence of

     medical treatment’) (Attached as Exhibit K); Mcintosh v. Irving Trust Co., 887

     F.Supp. 662, 664, 669 (S.D.N.Y. 1995) (awarded emotional damages where the

     evidence of mental anguish was plaintiff's testimony that he felt ‘humiliated,’


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   The Sixth Circuit provided two examples where this had been allowed in the past,
 where doctors were allowed to “testify as fact witnesses that a person was cancer-
 free based on firsthand observations” and where police officers were allowed “to
 give lay testimony explaining the code words they used while negotiating a drug
 purchase.” Ganier at 926-927.

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    ‘shocked,’ ‘angry,’ and ‘beaten down,’ and that he ‘saw a doctor once because of

    ailments related to nervous tension’); Tanzini v. Marine Midland Bank, 978

    F.Supp. 70, 80 (N.D.N.Y. 1997) (awarded emotional damages where plaintiff and

    his wife testified as to a ‘very traumatic experience’ but ‘presented no evidence

    detailing the duration or magnitude of [plaintiff’s] emotional injuries, nor any

    evidence of medical or psychological treatment’); Shannon v. Fireman’s Fund

    Ins. Co., 156 F.Supp.2d 279, 296-98 (S.D.N.Y. 2001) (awarded emotional

    damages where plaintiff testified to ‘anxiety, stress and depression,’ plaintiff’s

    wife ‘corroborated most of this testimony,’ and plaintiff ‘sought the help of his

    treating physician’ who prescribed ‘an anti-anxiety medication,’ but where there

    was no evidence of any ‘physical manifestations’ from stress); and Lynch v. Town

    of Southampton, 492 F.Supp.2d 197, 200-08 (E.D.N.Y. 2007) (awarded

    emotional damages where plaintiff testified that, ‘following her termination, she

    was on [prescription] antidepressants’ and felt ‘hopelessness,’ ‘helplessness,’

    ‘shock[ ],’ and ‘humiliat[ion]’).

          In Ginsberg v. Valhalla Anesthesia Associates, P.C., No. 96 CIV. 6462

    (HB), 1997 WL 669870, at *4 (S.D.N.Y. Oct. 28, 1997), (abrogated on other

    grounds by Ozawa v Orsini Design Associated, Inc. No. 13 CIV.1282 (JPO),

    2015 WL 1055902 (S.D.N.Y. March 11, 2015), plaintiff was allowed to “testify

    that she saw a psychiatrist and received anti-depressant medication and remained



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    on medication for close to a year”. “[T]he jury credited this testimony in reaching

    its award” in favor of granting emotional distress damages even though the

    plaintiff “presented little [additional] evidence regarding her emotional distress.”

    (Attached as Exhibit L)

          As the above referenced cases make clear, Plaintiff may testify to the use

    of prescription antidepressants, her feelings, seeking treatment with a physician,

    her emotional state, the impact that her termination has had on her life and

    emotional stability, and a wide range of other topics in order to establish emotional

    harm and causation without testifying beyond the bounds of Fed. R. Evid. 701.

          Courts in the Sixth Circuit have continued to recognize this principle long

    after Ganier was decided. See Moody v. Pepsi-Cola Metro. Bottling Co., 915

    F.2d 201, 204 (6th Cir. 1990) (“At trial, both Moody and his wife testified that

    Moody suffered emotional distress from the termination. Moody testified that as

    he left the job he was humiliated and in a state of shock and disbelief.”); Kovacic

    v. Ponstingle, No. 1:05CV2746, 2014 WL 4715859, at *3-4 (N.D. Ohio Sept. 22,

    2014) (citing Leonard v. Compton, No. 1:03CV1838, 2005 WL 1460165, at *11

    (N.D.Ohio June 17, 2005) (attached as Exhibit M and Exhibit N) (“In ruling that

    plaintiffs did not need expert testimony to establish emotional injuries, the court

    noted that ‘just as expert testimony is not required to prove the existence of an

    emotional injury, expert medical testimony is not essential to forge the causal



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    link between a traumatic event and the alleged serious emotional distress.’”;

    “[G]iven that the emotional injury flowed from a single, concrete incident, jurors

    can ‘refer to their own experiences in order to determine whether, and to what

    extent, the defendant's conduct caused the emotional distress.’”) (quoting Paugh

    v. Hanks, 6 Ohio St.3d 72, 80 (1983))

          Similarly, Plaintiff has a clear right to present testimony and evidence

    regarding her emotional damages to establish the extent of the harm she suffered

    and the cause of her harm. As the above cases demonstrate, nothing in Fed. R.

    Evid. 701 would prevent Plaintiff from offering lay testimony related to her

    experience, feelings, emotions and symptoms surrounding the impact of her

    employer’s retaliatory conduct.

          Under Fed. R. Evid. 701, a lay witness can offer testimony in the form of

    an opinion that is rationally based on the witness’ perception or helpful to clearly

    understanding the witness’s testimony or to determining a fact in issue. Plaintiff

    does not need specialized knowledge to know that she felt depressed as a result

    of her termination or that she felt sad and angry in the months that followed, to

    know how her termination impacted her, or to know how her medication changed

    or that she sought treatment. As such, Defendant’s Motion is wholly improper as

    it seeks to preclude Plaintiff from testifying about her perceptions as a lay

    witness. Therefore, Defendant’s Motion must be denied.



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                               IV. CONCLUSION

          Based on the above arguments, the Court should deny Defendant’s Motion

    and Order that Plaintiff be allowed to introduce evidence pertaining to her

    emotional and psychological harm at trial.

                                       Respectfully submitted,
                                       MILLER COHEN, P.L.C.
                                       By: /s/ Adam C. Graham
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 NATALIE REESER,
                                                Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                        Hon. George Caram Steeh
 v                                              Magistrate Judge Mona K. Majzoub

 HENRY FORD HEALTH SYSTEM
 d/b/a HENRY FORD HOSPITAL,

              Defendant.

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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2016, the foregoing document was

 electronically filed by the undersigned’s authorized representative, using the ECF

 system, which will send notification of such filing to all parties of record.

                                         Respectfully submitted,
                                         MILLER COHEN, P.L.C.
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